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            IN THE UNITED STATES DISTRICT COURT FOR THE
          NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

SOUTHSHORE RESTORE, LLC; HEARTLAND GREENS          )   Case No. 20-cv-5264
LLC; BLOUNTS & MOORE LLC; LAKESHORE                )
GREENS, LLC; THE DOOBIE ROOM LLC; BOTAVI           )   Hon. Judge Alonso
WELLNESS LLC; DEEP EARTH LLC; THE HEALING          )
                                                   )
SOURCE LLC; EMERALD COAST LLC; BIAMED LLC;         )   CORRECTED AMENDED
NORTHSTAND DISPENSARY LLC; CANNABISTRO             )   COMPLAINT
LLC; PGW LLC; EMERALD ISLAND LLC; PRAIRIE          )
GRASS LLC; JG IL LLC; RENU LLC; TC APPLICO         )
LLC; THIRD COAST GREENHOUSE LLC; KAP JG            )
LLC; CELESTIA LLC; VILL-OPS, INC.; LAND OF         )
LINCOLN DISPENSARY, LLC; UHCC, INC.; SPARK         )
                                                   )
ALLIANCE, LLC; WELL-BEING HOLISTIC GROUP,          )
LLC; CANNECT WELLNESS OF ILLINOIS, LLC;            )
KECHWA, LLC; LITTLE FISH, LLC; PARKWAY             )
DISPENSARY, LLC; HOLISTIC ILLINOIS, LLC;           )
CANNDID SPIRIT, LLC; EARTHLYCURE LLC;              )
PROJECT EQUITY ILLINOIS INC; FUTURE OF THE         )
LEAF ENTERPRISES LLC; COUNTERPUBLIC LLC,           )
COUNTERBALANCE, LLC, CHICANN LLC; DIAMOND          )
                                                   )
STAR DISPENSARY, LLC; FOLIAGE 40 LLC;              )
ELEMENT 7 SOUTHSHORE; ELEMENT 7 EAST ST.           )
LOUIS; LEGACY COMMUNITY WELLNESS LLC; KANA         )
GROVE NORTH ILLINOIS, LLC; KANA GROVE              )
SOUTH ILLINOIS LLC; ELEMENT 7 ENGLEWOOD            )
LLC; GREEN & FOSTER, LLC; GREEN & WILLIAMS,        )
LLC, GREEN & BRASFIELD, LLC; GREEN & ALAMO         )
                                                   )
LLC, GREEN & CAMPBELL LLC; GREEN & RANDLE,         )
LLC; GREEN & KINNICK, LLC; GREEN & BRADLEY,        )
LLC, CESAM, LLC; GREENLINE LLC; NK                 )
HOLDINGS, LLC; NK HOLDINGS 2, LLC; NK              )
HOLDINGS 3, LLC; ZS HOLDINGS, LLC; ZS              )
HOLDINGS 2, LLC; ZS HOLDINGS 3, LLC;               )
NATURAL SELECTIONS 1, 2, 3, LLC; ABBYV,            )
LLC; LEROLERO, LLC.; CHIMBOMBO, LLC;               )
                                                   )
ILLINOIS ELEMENTAL HOLDINGS, LLC; NWA              )
HOLDINGS, LLC; NWA HOLDINGS 2, LLC; FMA            )
ILLINOIS, LLC; CHICAGO GREENZ, LLC; HOLY           )
ELIXERS, LLC; ZEN 1, 2, 3, 4, 5, LLC.;             )

V.
ILLINOIS DEPARTMENT OF FINANCIAL AND
PROFESSIONAL REGULATION; BRETT BENDER,
DEPUTY DIRECTOR, AND AS-YET UNKNOWN
DEFENDANTS
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                             AMENDED COMPLAINT

     Plaintiffs, SOUTHSHORE RESTORE LLC; HEARTLAND GREENS LLC;

BLOUNTS & MOORE LLC; LAKESHORE GREENS LLC; THE DOOBIE ROOM LLC; BOTAVI

WELLNESS LLC; DEEP EARTH LLC; THE HEALING SOURCE LLC; EMERALD COAST

LLC; BIAMED LLC; NORTHLAND DISPENSARY LLC; CANNABISTRO LLC; PGW LLC;

EMERALD ISLAND LLC; PRAIRIE GRASS LLC; JG IL LLC; RENU LLC; TC APPLICO

LLC; THIRD COAST GREENHOUSE; KAP JG LLC; CELESTIA LLC, VILL-OPS INC.;

LAND OF LINCOLN DISPENSARY, LLC;           UHCC, INC.; SPARK ALLIANCE, LLC;

WELL-BEING HOLISTIC GROUP, LLC; CANNECT WELLNESS OF ILLINOIS, LLC;

KECHWA, LLC; LITTLE FISH, LLC; PARKWAY DISPENSARY, LLC; HOLISTIC

ILLINOIS, LLC; CANNDID SPIRIT, LLC; EARTHLYCURE LLC; PROJECT EQUITY

ILLINOIS INC; FUTURE OF THE LEAF ENTERPRISES, LLC; COUNTERPUBLIC, LLC,

COUNTERBALANCE LLC, CHICANN, LLC; DIAMOND STAR DISPENSARY, LLC;

FOLIAGE 40 LLC; LEGACY WELLNESS, LLC; ELEMENT 7 SOUTHSHORE, ELEMENT

7 EAST ST. LOUIS; KANA GROVE SOUTH ILLINOIS LLC; ELEMENT 7 ENGLEWOOD

LLC; GREEN & FOSTER, LLC; GREEN & WILLIAMS, LLC, GREEN & BRASFIELD,

LLC; GREEN & ALAMO LLC, GREEN & CAMPBELL LLC; GREEN & RANDLE, LLC;

GREEN & KINNICK, LLC; GREEN & BRADLEY, LLC, CESAM, LLC; GREENLINE

LLC; NK HOLDINGS, LLC; NK HOLDINGS 2, LLC; NK HOLDINGS 3, LLC; ZS

HOLDINGS, LLC; ZS HOLDINGS 2, LLC; ZS HOLDINGS 3, LLC; NATURAL

SELECTIONS 1, 2, 3, LLC; ABBYV, LLC; LEROLERO, LLC.; CHIMBOMBO, LLC;

ILLINOIS ELEMENTAL HOLDINGS, LLC; NWA HOLDINGS, LLC; NWA HOLDINGS

2, LLC; FMA ILLINOIS, LLC; CHICAGO GREENZ, LLC; HOLY ELIXERS, LLC;

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ZEN 1, 2, 3, 4, 5, LLC.; by their attorneys, hereby submit this

Complaint against Defendants. In support of the relief requested

herein, Plaintiffs state as follows:

                                Introduction

           1.    Next week, the State of Illinois, through the Illinois

Department of Financial and Professional Regulation ("Department"),

proposes to give away 75 cannabis dispensary licenses collectively

worth more than $1,000,000,000 (billion) dollars to a group of 21

companies, many if not most owned by politically-connected insiders.

           2.    Although there was purportedly an open competition to

determine eligibility for these 75 licenses, the Department has

announced plans to award the 75 licenses to these 21 companies by lot

(hereafter, the "Lottery") without providing any opportunity for

administrative or judicial review for the 4,000+ applicants whom the

State has deemed ineligible to participate in the Lottery.

           3.    The Department's decision to go forward with a plan to

award more than a billion dollars in licenses to a group of 21

politically-connected insider companies without providing the 4,000+

unsuccessful applicants any opportunity to challenge their

ineligibility is unconstitutional, and cannot be permitted.

           4.    This is particularly so where, as here, there are

serious, obvious and objectively verifiable problems with way the

Plaintiffs’ applications were scored. Accordingly, in conjunction

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with this Complaint, Plaintiffs herein seek injunctive relief for the

reasons specified below.

                          Jurisdiction and Venue

           4.    This court has jurisdiction pursuant to 28 U.S.C. 1331

and 28 U.S.C. 1367, as Plaintiffs bring a federal claim arising under

the United States Constitution as well as a state law claim so related

as to form part of the same case or controversy. Venue is proper as

the events giving rise to these claims occurred in this district, some

of the Plaintiffs reside in this district and the agency Defendant

maintains its offices in this district.

                                   Parties

           5.    The Plaintiffs in this action consist of 21 different

social equity applicants. Some are majority owned by social equity from

disproportionately affected communities, along with partners, but

more than half are wholly-owned by groups of social equity applicants

who came together for the chance to break into the cannabis industry.

           6.    Plaintiff Southshore Restore is 100% owned and

controlled African American residents and business owners from the

City’s South Shore neighborhood. The team is made up of community

organizers, environmental justice advocates, military veterans, urban

farmers, small business owners and young professionals.

           7.    Plaintiff Heartland Greens is also 100% African

American, mostly female, led by Marquita Hollins, a military veteran.

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Residents of the City’s West Side, the group was brought together

for this opportunity by a wrongfully incarcerated man who posted a

notice in his neighborhood barbershop about breaking into legal

cannabis. Members include a Nutrition Educator at UIC, school board

members, and employees of local community organizations.

             8.         Plaintiff Doobie Room is 100% owned and

controlled by African American social equity military veterans.

Their collective accomplishments include starting a nonprofit and

business incubator for veterans, as well as running a successful

multistate hemp company.

               9.       Plaintiff Lakeshore Greens is majority owned

controlled by African American long-time residents and business

owners from Evanston. The team includes one member who runs a

diversity and inclusion training program, two master gardeners who

own a hemp production consulting company and who also run gardening

programs for children, as well as the founder of an African American

Archival History foundation.

           10.        Plaintiff Blounts & Moore is 100% owned and

controlled by African American (and mostly female) business woman.

This team includes the first African-American woman to own a major

furniture retail store in North Carolina.

           11.      Plaintiff PGW is owned and controlled by women with

a decade of collective cannabis industry experience. Majority

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African American owned, this team has operated a cannabis cultivation

and manufacturing facility, as well as active membership and

leadership of multiple cannabis industry groups.

           12.   Defendant Bret Bender is the Deputy Director of the

Defendant Illinois Department of Financial & Professional Regulation

(the “Department”).

                                 Background

           13.   In 2014, the General Assembly passed a law to award

licenses to a limited number of companies to sell medical marijuana

in Illinois. Called the Compassionate Use of Medical Cannabis Act (the

"Act"), the law created for the first time in Illinois a system of

licensing dispensaries through which it would be legal to sell

marijuana to patients suffering from conditions that are alleviated

by marijuana. The Act places the Department in charge of the licenses.

           14.   Unlike some states in which there are an unlimited

number of dispensary licenses, Illinois chose to strictly limit the

number of available licenses. That limitation has made these licenses

extremely valuable. Some recipients of these licenses have sold their

dispensaries for tens of millions of dollars.

           15.   In 2019, the General Assembly amended the Act, creating

rights to up to 60 new "Early Approval" secondary site dispensary

licenses. 410 ILCS 705/15-15. Because, as described above, the State

awarded 55 of the 60 available dispensary licenses in the original

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round, there are likewise 55 businesses eligible for Early Approval

secondary site licenses.

           16.   The Act as amended provides that the only people

eligible to win the 55 new Early Approval dispensary licenses are the

set of people who already own companies holding existing dispensary

licenses. As it turned out, the only companies with existing dispensary

licenses are majority-owned by Caucasian males. Zero companies with

existing licenses are majority-owned by women or by minorities.

           17.   There was considerable public outcry over the decision

to award the next 55 dispensary licenses to the same people who already

owned the existing dispensaries, and one of the primary criticisms was

that this decision effectively shut of the cannabis industry many small

business owners and entrepreneurs in disadvantaged communities most

effected by the War on Drugs.

           18.   To try to justify this unequal distribution of valuable

State resources, the amended Act further provides that minority-owned

and female-owned businesses, while ineligible to apply for any of the

55 Early Approval licenses, would nonetheless be eligible to apply for

a third round of dispensary licenses, consisting of 75 new Conditional

Adult Use licenses, scheduled to be awarded before the end of 2021

(hereafter, the "Licenses").

           19.   In 2019, the Department announced a process to award

these 75 Licenses. To compete for them, companies could apply and would

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be graded on various measures, with up to 252 total points.

           20.   The Department selected KPMG via a no-bid, $4.2M

contract to grade the applications.

           21.   To facilitate participation in the nascent cannabis

industry by people disproportionately affected by the War on Drugs,

the State announced that 50 of the 250 possible points would be awarded

to applicants who qualify as Social Equity Applicants, meaning that

the company was majority-owned by person(s) who, for example, either

lived in certain zip codes designated as disproportionately affected,

or who had prior cannabis arrests.

           22.   The Defendant, as well as the State and its Governor,

promised that this round of new licenses was specifically designed

diversify the cannabis industry and open it to Social Equity Applicants

who had traditionally been excluded. Members of communities in need

of economic development were encouraged to apply. Many did, investing

considerable money, sometimes their entire life savings. Numerous

teams made up of true Social Equity Applicants spent a year or more

preparing applications for a chance to participate.

           23.   The State announced a special fund to $20M fund help

Social Equity Applicants finance their dispensary businesses in the

event they won. Traditional rules that would have required applicants

to own and control property during the application process (an

expensive proposition) were waived.

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           24.   To further level the playing field, according to the

FAQs published by the Department, many of the measures on which

applicants were evaluated were designated to be graded via binary

scoring, i.e., pass/fail: the applicant either got all of the points,

or did not. Among the measures that were designated pass/fail included

the applicant's experience in cannabis, its diversity status, social

equity and veteran status, and its community plan.

           25.   By making the scoring on these key measures binary, the

Department created a contest where applicants could not distinguish

their credentials on factors such as experience, diversity, and

community involvement. The implication of such a scoring system is that

many, if not most, applicants would receive maximum (tie) scores.

           26.   More than 700 companies submitted a total of more than

4,000 applicants. Many of those 700 companies, including the

Plaintiffs, were majority-owned by true Social Equity Applicants who

live in economically disadvantaged areas.

           27.   In August of 2020, the Department announced emergency

rules providing for what would happen if there was a tie for the highest

scoring applicants. All such applicants thus became eligible to

participate in the Lottery (hereafter, "Tied Applicants").

           28.   For purposes of the Act, the State is divided into 17

Regions. For most of the State's Regions, the Department will award

one to three licensees via this Lottery process. The primary exception

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was the Region covering the greater Chicagoland area, for which there

47 Lotteries will be held to award the 47 Licenses.

             29.   Applicants were allowed to file as many applications

as they desired (at the cost of $2,500 per application for Social Equity

Applicants) but Tied Applicants are only eligible to enter into and

participate in the Lottery the same number of times as there are

Licenses available for that Region. In other words, for a Region with

two Licenses available, all Tied Applicants who applied in that Region

are allowed to participate in that Lottery a maximum of two times.

             30.   On September 3, 2020, the Department published a list

of Tied Applicants, all of whom scored the maximum 252 points. There

were a grand total of only 21 companies, or less than 3% of the total

number that applied, and a number of them appear to have overlapping

ownership.

             31.   Under the State’s present plan, each of those Tied

Applicants who applied in a given Region will be allowed to participate

in the 75 Lottery drawings by which these 75 Licenses will be awarded

by lot. Other than these 21 companies, who will each win multiple

licenses, no other companies will be allowed to participate in the

Lottery.

             32.   Unlike most graded competitions for cannabis licenses,

this one did not control for political influence or bias by scoring

anonymously. The vast majority of states that conduct competitions to

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award cannabis licenses do so via a process that requires applicants

to redact the names and affiliations of their principals from the

graders for grading purposes.

           33.    Inexplicably, this competition was not graded

anonymously. The application and the FAQs were clear that the Exhibits

that would allow KPMG to identify the principal officers of each

applicant were to include all personal identifying information. And

unlike in other states where an anonymized email address was required

for contact purposes through the deficiency process, applicants also

received deficiency notices to their personal email accounts

directly from KPMG, and used those same email addresses to login to

the KPMG online portal to upload any exhibits for which they received

a deficiency.

           34.    Based on their corporate registrations, at least some

of the 21 Tied Applicants declared eligible for these enormously

valuable licenses (collectively worth more than a billion dollars) are

politically-connected. These include, for example, separate groups

owned by a former Superintendent of the Chicago Police Department;

Illinois gaming operators, including the president of Lucky Lincoln

Gaming, a slot machine company, partnered on the application with a

Senior analyst in Illinois government; the Executive Director of the

Illinois cannabis lobbying group, NORML; the owner of a private

equity/real estate fund; the owner and namesake of an iconic Gold Coast

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restaurant/brand teamed up with several politically-connected

individuals, including the former Director of Operations for the

Illinois House Republican Organization; a Democratic Committeeman who

is also a lobbyist; and three separate groups associated with the law

firm of Bob Morgan, the original Governor-appointed Director for the

Illinois Medical Cannabis Program.

     35.   According to his web bio, Morgan was one of the primary

architects who created not only the Program itself, but the original

“selection process for licensed dispensary facilities.” Exh. 1 at 10.

Hiring the law firm of a tied-in lobbyist is obviously not a crime,

but it bears note that a minimum of one-seventh of the winners (3 of

the 21) appear to have retained the firm of someone who not only had

top-tier connections, but may well have had additional insight into

the “secret-formula” maximum scoring process, a process that only 21

of 700+ companies were somehow able to navigate successfully.

     36.   Additionally, at least one Tied Applicant lists as a Manager

a person identified on LinkedIn as a risk consultant for KMPG, the

contractor that decided (not anonymously) which very few companies

would participate in the Lottery.

           37.    There appear to be at most one or two true, wholly-owned

social equity companies. Even more curious, very few of the 21 have

any obvious connected to the cannabis industry, begging the question

of what metric could have justified their selection from among the 700+

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others.

            38.   In a letter to Gov. Pritker, the Legislative Black and

Latino caucuses have each already called for the Administration to

suspend the lottery “over concerns about an applications process that

allowed many clouted and seemingly well capitalized businesses to

move onto the next phase.”

            39.   Pursuant to the Emergency Rules promulgated and

announced by the Department, the Lottery for issuing the Licenses will

be held at least five business days after the Tied Applicant list was

released, which was shortly before the Labor Day weekend. That could

be as soon as Friday, September 10, 2020.

            40.   However, to date the Department has released no

information or explanation for why the 4,000+ unsuccessful applicants

were not selected for the Lottery, or why the 21 Tied Applicants were

selected.

            41.   For those applicants not among the 21 selected for the

Lottery, the Department has announced on its website that there will

be no process for agency administrative review, and that all such

applicants not selected for the Lottery have no recourse other than

to file lawsuits.

            42.   Having established a procedure where the State is going

to give away more than a billion dollars of valuable Licenses to what

appears to be a group of 21 politically-connected insiders, it is

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unconstitutional to deny the 4,000+ unsuccessful applicants any

ability to timely challenge the process by which they were not selected

to participate in this Lottery. Due process requires a procedure be

made available in time to obtain a meaningful remedy by participating

in the Lottery process.

           43.    Moreover, state law authorized a total of 75 Licenses;

there is no statutory authorization to award more Licenses. If the

Lottery proceeds and these Licenses are awarded, the winning

applicants begin the process of building their dispensaries. The

Department will likely argue that there is no ability to make whole

(award a new License) to any unsuccessful applicants who can

subsequently prove they should have been permitted to participate in

the Lottery, much less that they would have won a License by lot.

           44.    Each of the Plaintiffs should have qualified to be Tied

Applicant. Each Plaintiff was majority-owned by Social Equity

Applicants, and each Plaintiff is qualified to operate a dispensary

business. Plaintiffs all submitted applications that should have

received all of the available points.

           45.    On September 3, 2020, the same day the Department

announced the 21 Tied Applicants, the Defendant informed Plaintiff and

others that they were not a Tied Applicant, and thus ineligible to

participate in the Lottery. A copy of the Department’s determination

notification, which was apparently identical for each of the 4,000+

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unsuccessful applicants, is attached hereto as Exhibit A. The

Department provided no explanation, no information about Plaintiffs'

scores, and no reasons or even information about why they had not been

deemed a Tied Applicant.

           46.    The same day they were informed that they were not Tied

Applicants eligible to participate in the Lottery, Plaintiffs made a

written request on the Department and its Director for information so

they could assess the merits of their claims for judicial review. The

information sought included Plaintiffs' scores and scorecards, the

scoring rubric and evaluation criteria, any or all documents

memorializing the reasons/rationale why Plaintiffs did not score

enough points to become Tied Applicants, and any and all documents

relating to the scores of those that did.

           47.    The Department has since responded to only portion of

this request, transmitting to one of the Plaintiffs (“JG ILL”) a

scorecard showing how it was scored.

           48.    The score attributed to JG ILL is obviously flawed.

First, JG ILL submitted identical applications in all of the 75

regions, but at least some of the scores it received on certain measures

in some of the Regions were different from scores for the same measure

in other Regions. For example, JG ILL received a 16 out of 16 for most

of its recall plans (Exhibit G) but only a 14 out of 16 in the with

the identical recall plan in the Rock Island Region. In other words,

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identical application plans, different scores.

           49.    More troublingly, JG ILL received zero points out of

a possible 5 points for being majority-owned by Illinois residents.

This makes no sense. JG ILL is majority-owned by Illinois residents,

and it submitted all of the required proof with its application in the

form specified by the Department. The decision to award JG ILL zero

points is absurd, and suggests an extremely incompetent process.

           50.    JG IL also received zero points out of a possible 5

points for being majority owned by military veterans. This is also

incorrect. JG ILL is majority-owned by military veterans, and it

submitted all of the required proof with its application in the form

specified by the Department.

           51.    JG IL also received zero points out of a possible 50

points for Social Equity Status. This is also incorrect. JG ILL

qualified as a Social Equity Applicant, and it submitted all of the

required proof with its application in the form specified by the

Department.

           52.    The only other measure for which JG ILL was docked any

points is “Exhibit J” regarding the floor plan. The Department did not

inform JG ILL why it did not receive the maximum points on this element,

but JG ILL’s floor plan should have received the maximum points. The

Act specifies that no property is required (to facilitate competitive

applications by Social Equity Applicants), and the Department’s FAQ’s

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specifically state that no additional points are awarded for

applicants that apply with property. JG ILL’s floor plan is thus no

less qualified than any other company’s floor plan.

           53.    The Act states that applicants get opportunity to cure

any deficiencies with their applications. Specifically, 410 ILCS

705/15-30(b) states as follows (emphasis added):

     If the Department receives an application that fails to provide

     the required elements contained in this Section, the Department

     shall issue a deficiency notice to the applicant. The applicant

     shall have 10 calendar days from the date of the deficiency

     notice to resubmit the incomplete information. Applications

     that are still incomplete after this opportunity to cure will

     not be scored and will be disqualified.

           54.    The dispensary application itself states (emphasis

added):

     If the Division receives an application that is deficient in

     any respect, the Division will issue a deficiency notice via

     e-mail to the primary and alternate contacts identified on the

     application form. The applicant will have 10 calendar days from

     the date the deficiency notice is sent to submit the information

     requested. If the applicant does not provide all required

     information necessary to make its application complete within

     the allotted time, the application will be rejected and not

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     considered for a license, and the application fee will not be

     returned.

           55.    In practice, the Department correctly interpreted the

Act to require it to provide applicants an opportunity to cure any

shortcomings in the applications as submitted.

           56.    For example, six other applicants (not Plaintiffs in

this action) received a notice from the Department during the grading

period dated May 1, 2020 from FPR.AdultUseCannabis@illinois.gov under

the subject line “Notice of Deficiency in Dispensary Application.”

An illustrative example of this notice states in relevant part:

This e-mail serves as your notification that one or more deficiencies
have been identified in your application for a Conditional Adult Use
Dispensing Organization License. Please carefully read the
instructions below and submit the information addressing the
identified deficiencies.
You have 10 calendar days beginning the day after the date this
e-mail was sent to submit the required information in the manner
described below. Submissions delivered to the Illinois Department
of Financial and Professional Regulations by any other means or after
this timeframe will not be accepted. In your submission, do not
include any supplemental information related to your application
other than that required to address the identified deficiencies. Such
supplemental information will not be considered in the review and
scoring process. Please note that deficiencies identified are not
comprehensive of all applicable statutes identified in the Cannabis
Regulation and Tax Act (410 ILCS 705/).
IMPORTANT: If you do not submit the required information in the
required manner within 10-calendar days, your entire application
will not be scored and will be disqualified. (410 ILCS 705/15-30(b)).
You will NOT receive a refund of your application fee.
Below, are the deficiencies in your application that have been
identified at this time. This may not be a complete list of all
deficiencies in your application, so please continue to monitor your

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e-mail account for additional correspondence regarding other
deficiencies that may be identified in the future.
Instructions for Submitting Information to Address Deficiencies:
1. Review the list below to learn which deficiencies apply to your
application.
2. Prepare responses in PDF format addressing each deficiency. A
separate PDF document should be created for each Exhibit in which
a deficiency has been identified. Unless the deficiency is that an
entire Exhibit is missing, only submit supplemental information and
materials that address the deficiency identified. For each corrected
Exhibit, title the document “Exhibit [letter of
exhibit]_[Organization FEIN Number or Organization
Name]_Deficiency_[Region ID(s) separated by underscores].”
File Naming Convention Example: Exhibit
N_81-3780373-Deficiency_1_4_10_17
****
3. Once you’ve assembled your PDF responses, you will access the
Secure File Transfer Protocol (SFTP) file as described in the
information below with the following username and password. For SFTP
related questions only, please contact the following email
address: us-advIDFPR@kpmg.comand a resource will get back to you
promptly. We recommend logging into the SFTP as soon as possible to
determine any access issues as extensions to submit your content
beyond the 10 calendar days will not be provided.
****
Listing of alphabetical deficiencies in your Application as provided
by Section 15-30(b) of the Cannabis Regulation and Tax Act:

BLS Region:    *** Cape Girardeau

Exhibit F
The proposed business plan did not include the requirement for an
estimated volume of cannabis the applicant plans to store at the
dispensary.
Exhibit H
The application did not include the requirement for an executed
contract with a private security contractor.
Exhibit J




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The application did not include the requirement for a description
of the features that will provide accessibility as required by the
ADA.
The application did not include the requirement for a description
of the air treatment systems that will be installed to reduce odors.
The application did not include the required statement that the
issuance of a license will not have a detrimental impact on the
community in which the applicant wishes to locate.
Exhibit P
The application did not include evidence which establishes the
applicant’s status as a Social Equity Applicant. In particular, the
application did not provide sufficient evidence that:
• One or more persons asserting they resided in a disproportionately
impacted area for at least 5 of the preceding 10 years did not provide
sufficient documentation to support that assertion, and/or did not
provide sufficient documentation that the individual owns and
controls a sufficient percentage of the dispensing organization
alone or in conjunction with other proposed principal officers to
qualify as a Social Equity Applicant.
and/or
• The applicant did not provide sufficient evidence to support its
assertion that it is an Illinois resident.
  In your response please provide all relevant documents, combined
in one searchable PDF file, by exhibit to support your assertion(s)


           57.    The six applicants that received this and similar

notice, in other words, were informed back in May (months before final

scores were determined) not only that the Department deemed their proof

of ownership insufficient, but it listed the various things that were

missing from the Exhibit J floor plan element, among others, that were

required to achieve the maximum score. Not only did the Department tell

these applicants exactly what they needed to do, but it gave the

applicants 10 days to cure all of the problems without any prejudice

to their application, almost six months after the original deadline

for submission.

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           58.    Plaintiffs got no such notification from the

Department, and no such opportunity – and all despite the statutory

requirements for both. Instead, the first time Plaintiff JG IL learned

that the Department had any problem with its Exhibit J was when it

received a less than perfect score, thereby excluding it from the

Lottery.

           59.    The Department cannot deprive any applicant of the

rights specified in statute, much less selectively enforce the rules

of this competition. If some applicants were provided notice of exactly

where and how they fell short of maximum points and an opportunity to

cure, then the Department cannot arbitrarily deny other applicants the

same notice and opportunity to resubmit.

           60.    The language of the Act is mandatory. Plaintiffs

“shall” receive the statutorily required notice to “resubmit the

incomplete information,” prior to being scored or disqualified. 410

ILCS 705/15-30(b). Here the Department attempted to score Plaintiffs

without providing them with notice and opportunity to respond,

despite having provided that very opportunity to other applicants.

           61.    The way the process has been set up by the Department,

Plaintiffs are being denied any post announcement hearing to challenge

the denial of their eligibility to participate in the Lottery.

           62.    Absent emergency injunctive relief, by the time

Plaintiffs have any opportunity for judicial review in this Court, they

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will have no remedy. The State will argue that it is too late to afford

them a License, because the Lottery will have already occurred, and

the 75 dispensaries will be under construction. The State will further

argue that there is no entitlement to damages because once the Lottery

is over, Plaintiffs could never prove definitively that their lot would

have been drawn entitling them to a License.

           63.    This process does not comport with due process.

Where the State is awarding enormously valuable Licenses to

politically-connected insiders, there has to be be at least some

opportunity for meaningful judicial review. Because the process here

was specifically designed to avoid that opportunity, the Lottery

should be enjoined until the State provides Plaintiffs (and all others

who ask) an opportunity to challenge the Department's decision and the

information with which to do so, as well as the ability to receive a

chance for a license should the Court deem that appropriate.

                           Count I - Due Process

           64.    Plaintiffs reallege all allegations of this Complaint

as if fully set out herein.

           65.    By all of the above, Defendants, and each of them, are

improperly denying Plaintiffs the statutory rights in the application

process to which they are entitled.          Defendants are also denying

Plaintiffs the right to participate in the lottery despite their

satisfaction of the objective criteria to determine the participants.

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Defendants refuse to give any process to challenge their actions. As

a result, Plaintiffs are being deprived of property rights without due

process of law and lack an effective remedy. Plaintiffs have been

injured as a direct and proximate result.

           66.    Plaintiffs are entitled to sufficient notice of the

Department’s findings of a deficiency(ies) and the basis therefore as

well as an opportunity to respond with correction in accordance with

the statutory procedures and the procedures afforded other applicants.

Plaintiffs are also entitled to be notified of the basis, if any,

underlying the Department’s decision that they are not a Tied

Applicant, and a fair hearing process to challenge that basis.

Moreover, these processes must be afforded at a meaningful time when

relief can still be effectively granted, i.e., while Plaintiffs still

have the oppostunity to participate in the Lottery.

           67.    To preserve Plaintiffs’ ability to obtain a remedy and

this Court’s ability to afford one, the Court should order the

injunctive relief described below.



                 Count II – Denial of Access to Courts

           68.    Plaintiffs reallege all allegations of this Complaint

as if fully set out herein.

           69.    Defendants are refusing to afford Plaintiffs a

procedure at the agency level to challenge its failure to afford them

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the deficiency notice and cure rights and its decision denying them

Tied Applicant status.

           70.    Although Defendants have invited all non-eligible

applicants to file lawsuits to challenge the Department’s conduct and

decisions, Defendants intend to deprive the court of the ability to

provide relief for any violation. Specifically, Defendants intend to

award the Licenses before any court can act.

           71.    By all of the above, Defendants, and each of them, are

depriving Plaintiffs of access to court. If Plaintiffs prove a

violation by the Department and entitlement to Tied Applicant status,

the Department will contend that no Licenses will remain to be awarded

such that this Court has no power to grant relief. Plaintiffs have been

injured as a direct and proximate result.

           72.    To remedy at least part of Plaintiffs’ injuries, the

Court should issue the injunctive relief demanded below.

                       Count III – Equal Protection

           73. Plaintiffs reallege all allegations of this Complaint

as if fully set out herein.

           74.    Plaintiffs in this action were treated differently

than other similarly situated applicants in that those other

applicants were provided notice of deficiencies and an opportunity to

respond to cure them, whereas Plaintiffs were not.

           75.    Had Plaintiffs been given the same notice and permitted

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the same opportunity to cure the stated deficiencies, whatever the

Department is claiming them to be, Plaintiffs would have qualified for

the Lottery.

             76.   Most of the Plaintiffs in this case are members of a

protected class, namely African American. The Department treated them

differently than applicants of other races in that it afforded them

thorough notice of its findings and an opportunity to address them,

whereas it afforded neither to Plaintiffs. This disparate treatment

is unjustified, subject to strict scrutiny, and is the result of

prohibited animus to favor the other applicants. All of the Plaintiffs

in this case are also victims of “class of one” equal protection

violations in that there is no rational basis for the disparate

treatment.



                    Count IV – Administrative Review

             77. Plaintiffs reallege all allegations of this Complaint

as if fully set out herein.

             78.   On or about September 3, 2020, The Department made

final administrative decisions affecting Plaintiffs’ rights. A copy

of the decisions are attached hereto.

             79. The court should review the decisions because they are

not in accordance with the law, inter alia, for the reasons explained

in this Complaint.

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             80. The Department should have reached the conclusion that

Plaintiffs met all requirements for the highest score and should have

been deemed a Tied Applicant as to each of the applications they

submitted.

             81. The Department is requested to file an answer to this

Complaint consisting of the entire record of the process and grading

resulting in the decision on Plaintiffs’ application and on the

applications of those deemed Tied Applicants.

             82. Plaintiffs have exhausted all available remedies under

the Administrative Review Law and have no further plain, speedy,

adequate remedy under the law.



             WHEREFORE, Plaintiffs respectfully request that Court grant

the injunctive relief sought herein, as well as any other relief

available in equity or at law, including but not limited to the Licenses

under consideration. The injunctive relief sought includes but is not

limited to a Court order:

  A. Directing the Defendants to provide a deficiency notice of the

     same quality and thoroughness afforded the other applicants

     and/or treat the Department’s September 3, 2020 notification

     of non-perfect scores to each of the Plaintiffs as the required

     deficiency notice, and accept and grade Plaintiffs’ revised

     Exhibits. And upon completing that review, if Plaintiffs’

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     scores qualify for placement in the Lottery, Defendants should

     be further ordered to permit any Plaintiffs that do to

     participate.

  Or, alternatively:

  B. Temporarily enjoin the Lottery until the Court can adjudicate

     the fairness and accuracy of the Department’s process and

     findings, including but not limited to whether the process for

     selecting the 21 Tied Applicants and excluding Plaintiffs was

     inherently flawed, marred by conflict of interest,

     erroneously executed, and/or violated the Plaintiffs’ rights.




                                            RESPECTFULLY SUBMITTED,

                                            /s/Jon Loevy      ________



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